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              IN THE UNITED STATES DISTRICT COURT 

                 EASTERN DISTRICT OF ARKANSAS 

                      JONESBORO DIVISION 




THOMAS J. CULLEN, JR., as Personal
Representative and Surviving Son of
THOMAS J. CULLEN, Deceased                                         PLAINTIFF


v.                           No. 3:12-cv-9-DPM


CRITTENDEN HOSPITAL ASSOCIATION, d/b/a
CRITTENDEN REGIONAL HOSPITAL; INTERNAL
MEDICINE ASSOCIATES OF WEST MEMPHIS, P.A.;
KENNETH R. NADEAU, M.D.; DANIEL W. WEBB, M.D.;
MID-SOUTH PULMONARY SPECIALISTS, P.C.;
RICHARD BOSWELL, M.D.; ARCH SPECIALTY
INSURANCE COMPANY; and JOHN AND JANE DOE DEFENDANTS



                                   ORDER

      The motion to remand, Document No. 3D, is granted. 28 U .S.C.A. §

1441(b) (West Supp. 2010); Horton v. Conklin, 431 F.3d 602 (8th Cir. 2005), cert.

denied, 549 U.S. 813 (2006). The motion to stay response time, Document No.

32, is denied as moot. The Court remands the case and all pending motions

to the Circuit Court of Crittenden County, Arkansas.
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So Ordered. 



                             D.P. Marshall Jr.
                             United States District Judge

                              4 April 2012




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